                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 1 of 30 Page ID #:877




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8                        UNITED STATES DISTRICT COURT
                                                                         9
                                                                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                           CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                Plaintiff,              DEFENDANT’S REPLY RE
                                                                        12
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                                                                                                                        SEPARATE STATEMENT OF
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                             UNDISPUTED MATERIAL FACTS
                                                                        14                                              AND CONCLUSIONS OF LAW
                                                                             COUNTY OF LOS ANGELES, a
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                          [Filed Concurrently with Reply re
                                                                        16   DEPARTMENT, a public entity;               Motion for Summary Judgment]
                                                                             SHERIFF JAMES MCDONNELL, in
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH                 Date: Vacated
                                                                        18   COLLINS, individually and in his
                                                                             official capacity as a Deputy, and         Action Filed: September 18, 2019
                                                                        19   DOES 1 through 10, inclusive
                                                                                                                        Trial Date: Vacated
                                                                        20                      Defendants.
                                                                        21
                                                                                   Defendant COUNTY OF LOS ANGELES respectfully submits this Reply re
                                                                        22

                                                                        23   the Separate Statement of Uncontroverted Facts and Conclusions of Law in support
                                                                        24
                                                                             of its Motion for Summary Judgment or, in the alternative, Motion for Partial
                                                                        25
                                                                             Summary Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure.
                                                                        26

                                                                        27

                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 2 of 30 Page ID #:878




                                                                         1                 FACTS COMMON TO ALL CAUSES OF ACTION
                                                                         2     Uncontroverted Material Facts and       Plaintiff’s Responses and Supporting
                                                                         3            Supporting Evidence                              Evidence
                                                                         4
                                                                              1. Plaintiff brings this lawsuit based   Plaintiff admits that this is undisputed.
                                                                         5
                                                                              on a theft allegedly occurring on May    However, Plaintiff discovers in late
                                                                         6
                                                                              28, 2014.                                2018, that it was an LASD Deputy that
                                                                         7
                                                                              [Plaintiff’s First Amended Complaint     had taken the monies after years of
                                                                         8
                                                                              (FAC), Docket Document No. 1, ¶ 29] investigation by the FBI. In the AUSA’s
                                                                         9
                                                                                                                       sentencing memorandum dated October
                                                                        10
                                                                                                                       29, 2018, Deputy Collins admits in a
                                                                        11
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                                                                                                                       plea agreement that he stole $160,000
                                                                        12
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                                                                                                                       during a sham traffic stop on May 28,
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                                                       2014, while driving his LASD patrol
                                                                        14
                                                                                                                       car, wearing his LASD uniform, and
                                                                        15
                                                                                                                       possessing a firearm, defendant
                                                                        16
                                                                                                                       conducted an unlawful traffic stop of a
                                                                        17
                                                                                                                       vehicle and illegally seized
                                                                        18
                                                                                                                       approximately $160,000 in cash from
                                                                        19
                                                                                                                       the vehicle. (CR 18-00038-ODW-1,
                                                                        20
                                                                                                                       Dkt. 113, ¶ II(G).) Deputy Collins was
                                                                        21
                                                                                                                       aware, in advance of the traffic stop,
                                                                        22
                                                                                                                       that there would be a large sum of cash
                                                                        23
                                                                                                                       in the vehicle and conducted the traffic
                                                                        24
                                                                                                                       stop for the purpose of illegally seizing
                                                                        25
                                                                                                                       the cash.(CR 18-00038-ODW-1, Dkt.
                                                                        26
                                                                                                                       78, ¶ 12.)
                                                                        27
                                                                                                                       [Exhibit 1, Government’s Sentencing
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                          REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 3 of 30 Page ID #:879




                                                                         1                                               Memorandum, Case No. CR 18-00038-
                                                                         2                                               ODW-1, Dkt. 113, ¶ II(G); Exhibit 2,
                                                                         3                                               Collins Plea Agreement, Factual Basis,
                                                                         4                                               Uncharged Conduct, ¶ 12, iii]
                                                                         5    Response to No. 1: Everything after plaintiff’s admission that this fact is
                                                                         6
                                                                              undisputed should be stricken as irrelevant and immaterial. Under federal law,
                                                                         7

                                                                         8    the “discovery rule” typically governs the accrual of § 1983 claims so that “a

                                                                         9    claim accrues when the plaintiff knows or has reason to know of the injury
                                                                        10
                                                                              which is the basis of the action.” Id., quoting TwoRivers v. Lewis, 174 F.3d 987,
                                                                        11
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                                                                        12    992 (9th Cir. 1999); Bird v. State of Hawaii, 935 F.3d 738, 743 (9th Cir. 2019).
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                                                                        13            The statutes of limitations are not tolled by California’s “Delayed
                                                                        14
                                                                              Discovery Rule” because Nersoyan had notice of the facts constituting his
                                                                        15

                                                                        16    claims when they accrued in 2014. See Jolly v. Eli Lilly & Co., 44 Cal. 3d 1103,
                                                                        17    1110 (1988). Moreover, this court need not “accept as true” his allegation that he
                                                                        18
                                                                              did not “discover” his injury until 2018, because it is a legally “conclusory
                                                                        19

                                                                        20    statement” (as opposed to a genuinely factual allegation). Ashcroft v. Iqbal, 556
                                                                        21    U.S. 662, 678 (2009). The fundamental purpose of statutes of limitation is to
                                                                        22
                                                                              protect defendants from having to defend stale claims such as this. Jolly, at
                                                                        23

                                                                        24    1112.
                                                                        25
                                                                              2. Nersoyan alleges that his               Plaintiff agrees this is undisputed.
                                                                        26
                                                                              unidentified “colleague/employee,” an
                                                                        27
                                                                              unidentified “broker” and an
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                          REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 4 of 30 Page ID #:880




                                                                         1    unidentified associate of the broker,
                                                                         2    while in possession of plaintiff’s cash
                                                                         3    in an amount exceeding $150,000,
                                                                         4    were improperly stopped by defendant
                                                                         5    former deputy Kenneth Collins, the
                                                                         6    cash was seized, and at least one
                                                                         7    person was taken into custody.
                                                                         8

                                                                         9    [FAC, Docket Document No. 1, ¶ 29;
                                                                        10    Exhibit A, Plaintiff’s Deposition,
                                                                        11    41:16-42:2, 43:3-9, 43:24-44:14,
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                                                                        12    45:10-19, 47:21-48:10,50-2-4, 50:14-
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                                                                        13    25, 65:6-9]
                                                                        14    3. Plaintiff alleges he soon thereafter   Plaintiff admits this is undisputed.
                                                                        15    called the Los Angeles County
                                                                        16    Sheriff’s Department (LASD) to
                                                                        17    complain about the theft, but the
                                                                        18    LASD had no interest in investigating
                                                                        19    his complaint and represented that it
                                                                        20    had no information about the alleged
                                                                        21    theft.
                                                                        22

                                                                        23
                                                                              [FAC, Docket Document No. 1, ¶ 30
                                                                        24
                                                                              and 31]
                                                                        25
                                                                              4. Plaintiff alleges that he has          Plaintiff agrees this is undisputed.
                                                                        26
                                                                              submitted multiple claims to the
                                                                        27
                                                                              County that have been ignored related
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 5 of 30 Page ID #:881




                                                                         1    to this incident.
                                                                         2

                                                                         3    [FAC, Docket Document No. 1, ¶ 17
                                                                         4    and 19]
                                                                         5    5. Plaintiff asserts that the County      Plaintiff agrees this is undisputed.
                                                                         6    misled him by denying that any
                                                                         7    County personnel had been involved.
                                                                         8

                                                                         9    [FAC, Docket Document No. 1, ¶ 19,
                                                                        10    25, 30, 32, 33 and 78]
                                                                        11    6. On May 28, 2014, former LASD           Plaintiff agrees this is undisputed.
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                                                                        12    deputy Kenneth Collins conducted a
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                                                                        13    bogus traffic stop of a vehicle and
                                                                        14    took possession of cash which plaintiff
                                                                        15    claims belonged to him.
                                                                        16

                                                                        17    [FAC, Docket Document No. 1, ¶ 23
                                                                        18    and 29; Exhibit A, Plaintiff’s
                                                                        19    Deposition, 41:16-42:2, 43:3-9, 47:21-
                                                                        20    48:10, 65:6-9, 81:6-82:6]
                                                                        21    7. Plaintiff admits that the broker and   Plaintiff agrees this is undisputed.
                                                                        22    his associate to whom he entrusted the
                                                                        23    money, helped set up the theft with
                                                                        24    Collins.
                                                                        25

                                                                        26    [Exhibit A, Plaintiff’s Deposition,
                                                                        27    51:1-5, 61:19-62:1]
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 6 of 30 Page ID #:882




                                                                         1    8. Plaintiff has been inconsistent about Plaintiff denies that this is undisputed.
                                                                         2    the amount of cash allegedly stolen,      Plaintiff states that it was $158,000.
                                                                         3    claiming it was between $150,000 and      [Exhibit A, Plaintiff’s Deposition,
                                                                         4    $160,000.                                 44:14] After FBI investigation, Collins
                                                                         5                                              admits taking approximately $160,000.
                                                                         6    [FAC, Docket Document No. 1, ¶ 1,         [Exhibit 1, Government’s Sentencing
                                                                         7    22, and 29; Exhibit A, Plaintiff’s        Memorandum, US v. Collins, Case No.
                                                                         8    Deposition, 43:24-44:14]                  CR 18-00038-ODW-1, Dkt. 113, ¶
                                                                         9                                              II(G); Exhibit 2, Collins Plea
                                                                        10                                              Agreement, Factual Basis, Uncharged
                                                                        11                                              Conduct, ¶ 12, iii]
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                                                                        12    Response to No. 8: The alleged dispute is irrelevant and immaterial.
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                                                                        13

                                                                        14
                                                                              9. Plaintiff has provided no              Plaintiff denies that this is undisputed.

                                                                        15
                                                                              documentary proof that the money          Plaintiff provided all documentation to

                                                                        16
                                                                              was his or that he had any legal          the FBI, since, Plaintiff’s copies were

                                                                        17
                                                                              entitlement to the allegedly stolen       destroyed when his office was later,

                                                                        18
                                                                              cash.                                     burglarized, ransacked and destroyed by

                                                                        19
                                                                              [Exhibit A, Plaintiff’s Deposition,       fire. [Exhibit A, Plaintiff’s Deposition,

                                                                        20
                                                                              42:7-14, 47:25-48:10, 67:11-68:1,         56:3-57:9, 115:12-20]

                                                                        21
                                                                              113:9-114:13]                             Plaintiff had documentary proof.

                                                                        22                                              [Exhibit A, Plaintiff’s Deposition,

                                                                        23                                              43:16-21, 44:21-45:9]

                                                                        24                                              Plaintiff had a $300,000 line of credit

                                                                        25                                              with Chase bank. [Exhibit A, Plaintiff’s

                                                                        26                                              Deposition, 54:6-16]

                                                                        27                                              Plaintiff also had a receipt from Chase

                                                                        28                                              Bank for the withdrawal of $40k-$50k.

                                                                             ______________________________________________________________________________
                                                                                          REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 7 of 30 Page ID #:883




                                                                         1                                               [Exhibit A, Plaintiff’s Deposition,
                                                                         2                                               76:19-77:17]
                                                                         3    Response to No. 9: In this litigation it is undisputed that plaintiff has provided
                                                                         4    no documentary proof that the money allegedly stolen was his or that he had any
                                                                         5    legal entitlement to it.
                                                                         6
                                                                              10. Plaintiff claims he gave the cash to Plaintiff denies that this is undisputed.
                                                                         7
                                                                              a “broker” to purchase a diamond           Plaintiff had vetted the authenticity of
                                                                         8
                                                                              necklace. He did not know where the        the necklace that was GIA certified.
                                                                         9
                                                                              necklace was located and had not           Plaintiff knew the cut, color, the clarity
                                                                        10
                                                                              vetted the authenticity of the necklace. and the carat weight. In addition,
                                                                        11
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                                                                                                                         Plaintiff knew who was in possession of
                                                                        12
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                                                                              [Exhibit A, Plaintiff’s Deposition,        the necklace.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                              47:7-48:1, 48:7-10, 65:6-17, 67:11-        [Exhibit A, Plaintiff’s Deposition,
                                                                        14
                                                                              68:1]                                      46:11-15, 49:1-20]
                                                                        15

                                                                        16    Response to No. 10: The alleged dispute is irrelevant and immaterial.

                                                                        17
                                                                              11. The broker, an associate of the        Plaintiff admits this is undisputed.
                                                                        18
                                                                              broker, and plaintiff’s
                                                                        19
                                                                              colleague/employee, Hyrum Dubon,
                                                                        20
                                                                              left plaintiff’s office with the cash on
                                                                        21
                                                                              the afternoon of May 28, 2014. They
                                                                        22
                                                                              were to return with the necklace
                                                                        23
                                                                              within one to two hours.
                                                                        24

                                                                        25
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                        26
                                                                              65:6-17]
                                                                        27
                                                                              12. When his colleague/employee            Plaintiff admits this is undisputed.
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 8 of 30 Page ID #:884




                                                                         1    failed to return with the necklace,
                                                                         2    Nersoyan got nervous and began
                                                                         3    calling him, but Dubon did not answer
                                                                         4    his phone.
                                                                         5

                                                                         6    [Exhibit A, Plaintiff’s Deposition,
                                                                         7    73:14-74:12]
                                                                         8    13. Shortly thereafter, the broker       Plaintiff admits this is undisputed.
                                                                         9    called Nersoyan to report he was
                                                                        10    nervous as he was getting pulled over
                                                                        11    by a Sheriff’s deputy.
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
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                                                                        13    [Exhibit A, Plaintiff’s Deposition,
                                                                        14    73:14-74:12, 75:4-7]
                                                                        15    14. The next call Nersoyan got was       Plaintiff admits this is undisputed.
                                                                        16    from Dubon who told him a male
                                                                        17    African American sheriff’s deputy had
                                                                        18    taken the cash and taken the broker’s
                                                                        19    associate into custody.
                                                                        20

                                                                        21    [Exhibit A, Plaintiff’s Deposition,
                                                                        22    81:6-82:6, 84:17-85:9]
                                                                        23    15. On May 28, 2014, Nersoyan called Plaintiff admits this is undisputed.
                                                                        24    information to obtain the phone
                                                                        25    numbers for the 3-4 Sheriff stations
                                                                        26    close to where he was told the theft
                                                                        27    occurred on East Slauson Blvd. He
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                           REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 9 of 30 Page ID #:885




                                                                         1    called each station on May 28, 2014
                                                                         2    and asked whoever answered the
                                                                         3    phone if a black deputy had brought in
                                                                         4    an arrestee with a large amount of
                                                                         5    cash. Each station denied any such
                                                                         6    activity.
                                                                         7

                                                                         8    [Exhibit A, Plaintiff’s Deposition,
                                                                         9    82:9-83:2, 83:8-11, 83:16-84:3, 85:10-
                                                                        10    16, 86:1-87:2, 103:18-105:3]
                                                                        11    16. Plaintiff admits that Collins never   Plaintiff denies this is undisputed.
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                                                                        12    made a report about the May 28, 2014      Plaintiff stated when asked, “nothing
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                                                                        13    incident and never booked the cash        comes out.”
                                                                        14    into evidence.                            [Exhibit A, Plaintiff’s Deposition,
                                                                        15                                              108:8-12]
                                                                        16    [FAC, Docket Document No. 1, ¶ 82
                                                                        17    and 83; Exhibit A, Plaintiff’s
                                                                        18    Deposition, 108:8-12]
                                                                        19    Response to No. 16: The alleged dispute is irrelevant and immaterial.
                                                                        20
                                                                              17. Plaintiff also admits that no station Plaintiff denies this is undisputed.
                                                                        21
                                                                              misled him, and each Sheriff’s station    Plaintiff claims that he received no
                                                                        22
                                                                              was telling him the truth on May 28,      response from the LASD, they didn’t
                                                                        23
                                                                              2014 when they denied any arrests         reach out to him, they refused or failed
                                                                        24
                                                                              involving a large amount of cash had      to follow up with him, that they did
                                                                        25
                                                                              occurred out of their station.            nothing.
                                                                        26
                                                                                                                        [Exhibit A, Plaintiff’s Deposition,
                                                                        27
                                                                              [Exhibit A, Plaintiff’s Deposition,       110:12-14]
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                          REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 10 of 30 Page ID
                                                                                                #:886



                                                                         1    110:15-23, 125:10-126:8, 126:21-25]
                                                                         2    Response to No. 17: The alleged dispute is irrelevant and immaterial.
                                                                         3
                                                                              18. Plaintiff also admits that he never    Plaintiff admits this is undisputed.
                                                                         4
                                                                              got any information from any source
                                                                         5
                                                                              that the Sheriff’s Department had any
                                                                         6
                                                                              knowledge prior to May 28, 2014 that
                                                                         7
                                                                              Collins intended to steal the cash.
                                                                         8
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                         9
                                                                              107:12-108:2, 151:16-25]
                                                                        10
                                                                              19. Collins has testified that no one      Plaintiff admits that Collins testified to
                                                                        11
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                                                                              from the Sheriff’s Department knew         such.
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
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                                                                              about his illegal activities.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14
                                                                              [Exhibit B, Deposition of
                                                                        15
                                                                              Collins,74:9-18]
                                                                        16
                                                                              20. Nersoyan never called 911 or went Plaintiff denies that this is undisputed.
                                                                        17
                                                                              to any Sheriff’s station to make a theft   Plaintiff immediately and continuously
                                                                        18
                                                                              report or demand that an investigation     called various LASD stations in the
                                                                        19
                                                                              be opened. He never sent any letters or area. The LASD continuously ignored
                                                                        20
                                                                              emails to the Sheriff’s Department         him. At one point, Plaintiff may have
                                                                        21
                                                                              about the theft.                           asked to file a report.
                                                                        22

                                                                        23
                                                                                                                         [Exhibit A, Plaintiff’s Deposition, 82:9-
                                                                              [Exhibit A, Plaintiff’s Deposition,        86:22, 92:13-15, 103:18-105:7]
                                                                        24
                                                                              85:10-18, 105:8-106:1, 110:9-23,
                                                                        25
                                                                              124:17-21]
                                                                        26
                                                                              Response to No. 20: The alleged dispute is irrelevant and immaterial. The
                                                                        27
                                                                              evidence cited by plaintiff does not refute defendant’s evidence. See, Exhibit A,
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 11 of 30 Page ID
                                                                                                #:887



                                                                         1    Plaintiff’s Deposition, 85:7-18 and 105:4-20.
                                                                         2
                                                                              21. The next day, May 29, 2014,          Plaintiff admits this is undisputed.
                                                                         3
                                                                              Nersoyan sent his other employee,
                                                                         4
                                                                              Andy Bagdasarian, to the scene of the
                                                                         5
                                                                              theft and Andy obtained two
                                                                         6
                                                                              videotapes, one from a gas station and
                                                                         7
                                                                              one from the traffic stop.
                                                                         8

                                                                         9
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                        10
                                                                              106:2-16, 108:25-109:13, 109:17-
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                              110:5]
                                                                        12
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                                                                              22. Despite the claims in the FAC,       Plaintiff denies this is undisputed.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                              plaintiff admits that he never gave      Plaintiff believes that he had at least one
                                                                        14
                                                                              these videotapes to or discussed the     conversation with the LASD regarding
                                                                        15
                                                                              tapes with anyone at the Sheriff’s       the contents of the video tape prior to
                                                                        16
                                                                              Department.                              November 2015. He was told by LASD
                                                                        17
                                                                                                                       personnel that they would get back to
                                                                        18
                                                                              [FAC, Docket Document No. 1, ¶ 31        him, but never did, despite the fact that
                                                                        19
                                                                              and 32; Exhibit A, Plaintiff’s           he left his contact information.
                                                                        20
                                                                              Deposition, 110:24-111:4, 114:18-23,     [Exhibit A, Plaintiff’s Deposition,
                                                                        21
                                                                              120:6-15, 125:3-20, 143:22-144:9]        120:19-121:21, 122:19-124:16]
                                                                        22

                                                                        23
                                                                              Response to No. 22: The alleged dispute is irrelevant and immaterial. Plaintiff

                                                                        24
                                                                              admits repeatedly in his deposition that he never gave a copy of the videotape to

                                                                        25
                                                                              the Sheriff’s Department. See the cited portions of plaintiff’s deposition, marked

                                                                        26
                                                                              as Exhibit A.

                                                                        27    23. Instead, in June of 2014, Nersoyan Plaintiff admits this is undisputed.
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                        REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 12 of 30 Page ID
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                                                                         1    gave the tapes to the FBI which
                                                                         2    promised to investigate the matter.
                                                                         3

                                                                         4    [Exhibit A, Plaintiff’s Deposition,
                                                                         5    111:2-22, 124:17-125:20, 127:1-18]
                                                                         6    24. Plaintiff claims the FBI             Plaintiff admits this is undisputed.
                                                                         7    encouraged him to have no contact        However, Plaintiff continued to contact
                                                                         8    with the Sheriff’s Department to         the LASD.
                                                                         9    protect their investigation.             [Exhibit A, Plaintiff’s Deposition, 82:9-
                                                                        10                                             86:22, 92:13-15, 103:18-105:7, 120:19-
                                                                        11    [Exhibit A, Plaintiff’s Deposition,      121:21, 122:19-124:16]
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    124:17-24, 128:4-19, 130:10-132:2;
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                                                                        13    135:6-25]
                                                                        14    Response to No. 24: Everything after plaintiff’s admission that this fact is
                                                                        15    undisputed should be stricken as irrelevant and immaterial.
                                                                        16
                                                                              25. Plaintiff called the FBI several     Plaintiff admits this is undisputed.
                                                                        17
                                                                              times between June and November of
                                                                        18
                                                                              2014, but the FBI did not seem to be
                                                                        19
                                                                              progressing in their investigation.
                                                                        20

                                                                        21
                                                                              [Exhibit A, Plaintiff’s
                                                                        22
                                                                              Deposition,130:10-132:2]
                                                                        23
                                                                              26. Between May 28, 2014 and             Plaintiff denies this is undisputed.
                                                                        24
                                                                              November 14, plaintiff placed only       Plaintiff immediately and continuously
                                                                        25
                                                                              one other call to an unidentified        called various LASD stations in the
                                                                        26
                                                                              Sheriff’s station to express his anger   area. The LASD continuously ignored
                                                                        27
                                                                              about the alleged theft.                 him. At one point, Plaintiff may have
                                                                        28

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                                                                         1                                             asked to file a report. On another call
                                                                         2    [Exhibit A, Plaintiff’s Deposition,      Plaintiff wanted to discuss the video
                                                                         3    121:2-124:21]                            tape with the LASD.
                                                                         4                                             [Exhibit A, Plaintiff’s Deposition, 82:9-
                                                                         5                                             86:22, 92:13-15, 103:18-105:7, 120:19-
                                                                         6                                             121:21, 122:19-124:16]
                                                                         7    Response to No. 26: The alleged dispute is irrelevant and immaterial.
                                                                         8
                                                                              27. Plaintiff had no other               Plaintiff denies this is undisputed.
                                                                         9
                                                                              communication with anyone in the         Plaintiff immediately and continuously
                                                                        10
                                                                              Sheriff’s Department between May         called various LASD stations in the
                                                                        11
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                                                                              28, 2014 and November 18, 2014.          area. The LASD continuously ignored
                                                                        12
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                                                                                                                       him. At one point, Plaintiff may have
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                                                                        13
                                                                              [Exhibit A, Plaintiff’s Deposition,      asked to file a report. On another call
                                                                        14
                                                                              121:6-124:21]                            Plaintiff wanted to discuss the video
                                                                        15

                                                                        16
                                                                                                                       tape with the LASD.

                                                                        17
                                                                                                                       [Exhibit A, Plaintiff’s Deposition, 82:9-

                                                                        18
                                                                                                                       86:22, 92:13-15, 103:18-105:7, 120:19-

                                                                        19
                                                                                                                       121:21, 122:19-124:16]

                                                                        20    Response to No. 27: The alleged dispute is irrelevant and immaterial.

                                                                        21
                                                                              28. By November of 2014, Nersoyan        Plaintiff admits this is undisputed.
                                                                        22
                                                                              was so frustrated with the FBI that on
                                                                        23
                                                                              November 18, 2014, he and his
                                                                        24
                                                                              attorney submitted a Government Tort
                                                                        25
                                                                              Claim to the County alleging that an
                                                                        26
                                                                              unidentified deputy stole $158,000
                                                                        27
                                                                              from one of his employees during a
                                                                        28

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                                                                         1    traffic stop on May 28, 2014.
                                                                         2    [Exhibit A, Plaintiff’s Deposition,
                                                                         3    115:21-116:4, 121:2-5, 127:1-18,
                                                                         4    128:4-19, 130:10-132:20; Exhibit C,
                                                                         5    Government Tort Claim; Inlow Decl.,
                                                                         6    ¶ 5]
                                                                         7    29. Then Sergeant, now Lieutenant       Plaintiff admits this is undisputed.
                                                                         8    Douglas Kimura, was assigned to
                                                                         9    investigate the allegations of the
                                                                        10    claim.
                                                                        11
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                                                                        12    [Declaration of Lt. Kimura, ¶ 3-23]
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                                                                        13    30. As Nersoyan’s claim had provided Plaintiff denies that this is undisputed.
                                                                        14    only a partial vehicle identification   Plaintiff also provided a description of
                                                                        15    number, Sgt. Kimura initially used      the deputy (which matched Collins).
                                                                        16    department resources to determine       [Exhibit A, Plaintiff’s Deposition,
                                                                        17    which patrol car(s) could have been     84:22-85:9]
                                                                        18    involved.
                                                                        19

                                                                        20    [Declaration of Lt. Kimura, ¶ 7]
                                                                        21    Response to No. 30: The alleged dispute is irrelevant and immaterial.
                                                                        22
                                                                              31. Sgt. Kimura also tried to contact   Plaintiff denies this is undisputed.
                                                                        23
                                                                              both Nersoyan and the alleged           Plaintiff denies ever receiving any
                                                                        24
                                                                              employee on several occasions           correspondence from Sgt. Kimura. The
                                                                        25
                                                                              without success. As Nersoyan never      post office has no record of the alleged
                                                                        26
                                                                              called him back, Sgt. Kimura sent him   certified letter.
                                                                        27
                                                                              a certified letter on December 16,      [Exhibit A, Plaintiff’s Deposition,
                                                                        28

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                                                                         1    2014.                                        133:13-16, Exhibit Z, Deposition of
                                                                         2    [Declaration of Lt. Kimura, ¶ 9-11;          Kimura, 33:22-24; See Exhibit 4]
                                                                         3    Exhibit D, Certified Letter]
                                                                         4    Response to No. 31: The alleged dispute is irrelevant and immaterial.
                                                                         5
                                                                              32. On December 17, 2014, Sgt.               Plaintiff denies this is undisputed.
                                                                         6
                                                                              Kimura spoke with Nersoyan by                Plaintiff denies he was ever asked for a
                                                                         7
                                                                              telephone and learned the alleged May copy of the video tape by LASD.
                                                                         8
                                                                              28, 2014 incident was captured on            Plaintiff does not recall speaking to
                                                                         9
                                                                              videotape which was in the possession anyone by the last name Kimura.
                                                                        10
                                                                              of Mr. Nersoyan’s attorney. When Sgt. [Exhibit A, Plaintiff’s Deposition,
                                                                        11
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                                                                              Kimura requested a copy of the               133:13-16, Exhibit 3, Deposition of
                                                                        12
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                                                                              videotape, Nersoyan terminated the           Kimura, 33:22-24]
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                                                                        13
                                                                              call and referred Sgt. Kimura to his
                                                                        14
                                                                              attorney.
                                                                        15

                                                                        16
                                                                              [Declaration of Lt. Kimura, ¶ 14-15;
                                                                        17
                                                                              Exhibit E, Audiotape of phone call
                                                                        18
                                                                              between Kimura and Nersoyan]
                                                                        19
                                                                              Response to No. 32: This is patently false as evidenced by the audiotaped call
                                                                        20
                                                                              between then Sgt. Kimura and plaintiff on December 17, 2014. The alleged
                                                                        21
                                                                              dispute is also irrelevant and immaterial.
                                                                        22

                                                                        23    33. Between December 17, 2014 and            Plaintiff denies this is undisputed.
                                                                        24    January 6, 2015, Sgt. Kimura left            Plaintiff denies having any contact
                                                                        25    several messages for Nersoyan’s              whatsoever with anyone at the Sheriff’s
                                                                        26    attorney without reaching him. On            department after he and his attorney
                                                                        27    January 6, 2015, Sgt. Kimura called          filed his claim, denied ever speaking
                                                                        28

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                                                                         1    Claimant Nersoyan again and advised     with Sgt. Kimura, and denied getting the
                                                                         2    him that he had not been able to        two certified letters, although he
                                                                         3    contact his counsel.                    confirmed they were sent to the correct
                                                                         4                                            address.
                                                                         5    [Declaration of Lt. Kimura, ¶ 16;       [Exhibit A, Plaintiff’s Deposition,
                                                                         6    Exhibit F, Audiotape of second call     132:18-134:19]
                                                                         7    between Kimura and Nersoyan]
                                                                         8    Response to No. 33: This is patently false as evidenced by the audiotaped call
                                                                         9    between then Sgt. Kimura and plaintiff of January 6, 2015. The alleged dispute is
                                                                        10    irrelevant and immaterial.
                                                                        11
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                                                                              34. On January 13, 2015, Sgt. Kimura    Plaintiff admits this is undisputed.
                                                                        12
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                                                                              interviewed Collins who stated he had
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                                                                        13
                                                                              been assigned to the Emerging
                                                                        14
                                                                              Leaders Academy (ELA) program
                                                                        15
                                                                              since 2012. Collins denied any
                                                                        16
                                                                              involvement with the alleged theft of
                                                                        17
                                                                              May 28, 2014, asserting that he had
                                                                        18
                                                                              never made a traffic stop while
                                                                        19
                                                                              assigned to ELA.
                                                                        20

                                                                        21
                                                                              [Declaration of Lt. Kimura, ¶ 17;
                                                                        22
                                                                              Exhibit B, Collins Deposition, 74:9-
                                                                        23
                                                                              18]
                                                                        24
                                                                               35. On January 16, 2015, the County    Plaintiff denies this is undisputed.
                                                                        25
                                                                              mailed Nersoyan a letter denying his    Plaintiff denies ever receiving any
                                                                        26
                                                                              November 2014 claim for damages.        correspondence from Sgt. Kimura.
                                                                        27
                                                                              The claim denial letter advised         Unlike other letters allegedly sent by the
                                                                        28

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                                                                                        REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                                                         1    Nersoyan that he had six (6) months       LASD this was not sent certified mail.
                                                                         2    from the date of the denial in which to   [Exhibit A, Plaintiff’s Deposition,
                                                                         3    file suit.                                133:13-16, Exhibit 3, Deposition of
                                                                         4                                              Kimura, 33:22-24]
                                                                         5    [FAC, Docket Document No. 1, ¶ 18;
                                                                         6    Exhibit G, Claim Denial Letter; Inlow
                                                                         7    Decl., ¶ 6]
                                                                         8    Response to No. 35: A copy of the Claim Denial letter was part of the file of
                                                                         9    plaintiff’s attorney, Nareg Gourjian, who had been retained by plaintiff in 2014
                                                                        10    to investigate the alleged theft. Inlow Decl., ¶ 5; Exhibit O, 9:18-10:5, 12:10-16.
                                                                        11    As the Claim Denial letter was addressed to only plaintiff at his home address,
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                                                                        12    which he confirms was a correct address, the only logical inference is that
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                                                                        13    plaintiff provided a copy of the Denial Letter to his counsel, Mr. Gourjian.
                                                                        14    Gourjian also testified he got the Denial from plaintiff. See, Exhibit O.
                                                                        15
                                                                              36. Having received no additional         Plaintiff denies the facts are undisputed.
                                                                        16
                                                                              information or telephone calls from       The Postal Service has no record of such
                                                                        17
                                                                              Nersoyan or his attorney, Sgt. Kimura     letter.
                                                                        18
                                                                              mailed a second letter to Nersoyan on     [Exhibit A, Plaintiff’s Deposition,
                                                                        19
                                                                              January 27, 2015, advising him that       133:13-16, Exhibit Z, Deposition of
                                                                        20
                                                                              his investigative efforts had been        Kimura, 33:22-24; See Exhibit 5]
                                                                        21
                                                                              exhausted due to Nersoyan’s lack of
                                                                        22
                                                                              cooperation and instructing him to
                                                                        23
                                                                              contact the Los Angeles Police
                                                                        24
                                                                              Department regarding the claim as the
                                                                        25
                                                                              location of the alleged incident was
                                                                        26
                                                                              within the jurisdiction of the LAPD
                                                                        27
                                                                              Newton Division.
                                                                        28

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                                                                                            REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                                                         1    [Declaration of Lt. Kimura, ¶ 18;
                                                                         2    Exhibit H, Second Certified Letter]
                                                                         3    Response to No. 36: The alleged dispute is irrelevant and immaterial. Moreover,
                                                                         4    Lt. Kimura has now testified that he took no further action on Nersoyan’s claim
                                                                         5    because the FBI took over the case. Inlow Decl., ¶ 2; Exhibit M, 63:13-64:5.
                                                                         6
                                                                              37. In his deposition, however,           Plaintiff denies that this is undisputed.
                                                                         7
                                                                              Nersoyan denied having any contact        The United States Postal Service has no
                                                                         8
                                                                              whatsoever with anyone at the             record of the alleged certified letters.
                                                                         9
                                                                              Sheriff’s department after he and his     [See Exhibits 4 & 5, USPS has no
                                                                        10
                                                                              attorney filed his claim, denied ever     records of the certified mailings.]
                                                                        11
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                                                                              speaking with Sgt. Kimura, and denied
                                                                        12
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                                                                              getting the two certified letters,
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                                                                        13
                                                                              although he confirmed they were sent
                                                                        14
                                                                              to the correct address.
                                                                        15

                                                                        16
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                        17
                                                                              132:18-134:19]
                                                                        18
                                                                              Response to No. 37: The alleged dispute is irrelevant and immaterial. Moreover,
                                                                        19
                                                                              Lt. Kimura has now testified that he took no further action on Nersoyan’s claim
                                                                        20
                                                                              because the FBI took over the case. Inlow Decl., ¶ 2; Exhibit M, 63:13-64:5.
                                                                        21

                                                                        22    38. Plaintiff and his attorney            Plaintiff denies this is undisputed.
                                                                        23    considered filing a lawsuit against the   Plaintiff filed a civil complaint in
                                                                        24    LASD in 2015 but did not. Nothing by November on the advice of his attorney.
                                                                        25    the Sheriff’s Department dissuaded        Plaintiff believed that the LASD would
                                                                        26    plaintiff from filing a lawsuit in 2014   be interested in investigating this.
                                                                        27    or 2015.                                  Plaintiff was led to believe by the
                                                                        28

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                                                                         1                                              conduct of the FBI and the LASD that it
                                                                         2    [Exhibit A, Plaintiff’s Deposition,       was not a deputy. Plaintiff didn’t
                                                                         3    130:10-132:17, 135:6-136:4]               realize it was a deputy until 2018.
                                                                         4                                              [Exhibit A, Plaintiff’s Deposition,
                                                                         5                                              16:2-17:18, 137:16-138:10, 139:18-
                                                                         6                                              25, 143:2-21]
                                                                         7    Response to No. 38: The alleged dispute is irrelevant and immaterial. Plaintiff
                                                                         8    did not need to “know” who stole his money. Under federal law, the “discovery
                                                                         9    rule” governs the accrual of a §1983 claim so that “a claim accrues when the
                                                                        10    plaintiff knows or has reason to know of the injury which is the basis of the
                                                                        11    action.” Knox v. Davis, 260 F.3d 1009, 1012–13 (9th Cir. 2001), quoting
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                                                                        12    TwoRivers v. Lewis, 174 F.3d 987, 992 (9th Cir. 1999). Here, plaintiff clearly
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                                                                        13    knew or had reason to know that a Sheriff’s deputy was responsible for the
                                                                        14    alleged theft in 2014. He was clearly on notice as he filed a Claim for Damages
                                                                        15    with the County in 2014. As such, when plaintiff got confirmation of the identity
                                                                        16    of the alleged thief is wholly irrelevant and immaterial.
                                                                        17
                                                                              39. On January 29, 2015, Claimant’s       Plaintiff denies that this is undisputed.
                                                                        18
                                                                              attorney called Sgt. Kimura and stated
                                                                        19
                                                                              he had the videotape. Sgt. Kimura
                                                                        20
                                                                              arranged to go to the attorney’s office
                                                                        21
                                                                              on February 5, 2015 to view the tape.
                                                                        22
                                                                              However, on February 3, 2015 the
                                                                        23
                                                                              attorney’s office left a voice message
                                                                        24
                                                                              cancelling the meeting. Sgt. Kimura
                                                                        25
                                                                              attempted to reschedule but was not
                                                                        26
                                                                              provided a new date.
                                                                        27

                                                                        28

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                                                                         1    [Declaration of Lt. Kimura, ¶ 19-21;
                                                                         2    Exhibit I, Voicemail Transcript]
                                                                         3    40. As of February 10, 2015, Sgt.       Plaintiff denies this is undisputable.
                                                                         4    Kimura had not heard further from the   Plaintiff denies having any contact
                                                                         5    attorney’s office. Based on the         whatsoever with anyone at the Sheriff’s
                                                                         6    available information and the lack of   department after he and his attorney
                                                                         7    cooperation by Nersoyan, Sgt. Kimura filed his claim, denied ever speaking
                                                                         8    determined there was insufficient       with Sgt. Kimura, and denied getting the
                                                                         9    evidence to substantiate Claimant       two certified letters, although he
                                                                        10    Nersoyan’s claim or to identify the     confirmed they were sent to the correct
                                                                        11    allegedly involved deputy.              address.
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                                                                        12                                            [Exhibit A, Plaintiff’s Deposition,
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                                                                        13    [Declaration of Lt. Kimura, ¶ 22-23]    132:18-134:19]
                                                                        14                                            Plaintiff claims that the investigation
                                                                        15                                            was a sham and consisted of nothing
                                                                        16                                            more than a two-minute conversation
                                                                        17                                            with Collins who denied anything.
                                                                        18                                            [Exhibit 3, Lt. Kimura’s Deposition,
                                                                        19                                            50:1-11.]
                                                                        20    Response to No. 40: The alleged dispute is irrelevant and immaterial. Moreover,
                                                                        21    Lt. Kimura has now testified that he took no further action on Nersoyan’s claim
                                                                        22    because the FBI took over the case. Inlow Decl., ¶ 2; Exhibit M, 63:13-64:5.
                                                                        23

                                                                        24    41. Nersoyan admits he had no contact Plaintiff admits this is undisputed.

                                                                        25    with anyone at the Sheriff’s

                                                                        26    Department in 2015, 2016, 2017 or

                                                                        27    2018. Nersoyan also admits he took no

                                                                        28    steps to pursue his claim against the

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                                                                         1    County in 2015, 2016, 2017 or 2018.
                                                                         2

                                                                         3    [Exhibit A, Plaintiff’s Deposition,
                                                                         4    136:25-138:10, 138:18-139:5]
                                                                         5    42. In 2017, LASD Detective Tim             Plaintiff admits this is undisputed.
                                                                         6    Berns, who is now retired, was
                                                                         7    assigned to Fraud and Cyber Crimes
                                                                         8    working on a joint ID Theft Task
                                                                         9    Force with the FBI, Secret Service,
                                                                        10    and Customs. A Reliable Confidential
                                                                        11    Informant (RCI) told Det. Berns about
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                                                                        12    a then unidentified “dirty cop” initially
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                                                                        13    believed to be with either the
                                                                        14    Riverside or San Bernardino Sheriff’s.
                                                                        15    Det. Berns shared this information
                                                                        16    with the FBI Agent on his joint
                                                                        17    taskforce.
                                                                        18    [Declaration of Det. Berns, ¶ 1-5]
                                                                        19    43. A few weeks later the RCI               Plaintiff admits this is undisputed.
                                                                        20    determined the name of the dirty
                                                                        21    officer was Kenneth Collins. Det.
                                                                        22    Berns ran the name through the LASD
                                                                        23    database and determined Collins was
                                                                        24    with the LASD. Det. Berns shared this
                                                                        25    information with his sergeant, his
                                                                        26    captain, and the FBI.
                                                                        27

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                                                                         1    [Declaration of Det. Berns, ¶ 6]
                                                                         2    44. While Det. Berns assisted the FBI      Plaintiff admits this is undisputed.
                                                                         3    as needed, the FBI conducted the
                                                                         4    investigation and ran the sting
                                                                         5    operation which resulted in the arrests
                                                                         6    of Collins and others, including Grant
                                                                         7    Valencia, on January 16, 2018. Both
                                                                         8    Collins and Valencia were convicted
                                                                         9    of federal crimes and Collins
                                                                        10    continues to be incarcerated in federal
                                                                        11    custody in Texas.
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                                                                        12
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                                                                        13    [Declaration of Det. Berns, ¶ 7-8;
                                                                        14    Exhibit B, Deposition of Collins, 8:24-
                                                                        15    9:2; Exhibit J, Ruling on Valencia
                                                                        16    MSJ]
                                                                        17    45. Valencia filed a lawsuit against the Plaintiff denies this is undisputed.
                                                                        18    County on December 14, 2018                The Valencia matter is an entirely
                                                                        19    alleging negligent supervision and         different criminal enterprise in which
                                                                        20    retention and a Monell claim for           Collins [US v. Collins, Case No. CR 18-
                                                                        21    failure to investigate which he claimed 00038-ODW-1] and Valencia [US v.
                                                                        22    resulted in his arrest with Collins. The   Collins, et al, Case No. CR 18-00038-
                                                                        23    County’s motion for summary                ODW-3], were allegedly involved in
                                                                        24    judgment was granted in full on            drug smuggling which appears to have
                                                                        25    February 24, 2020. Valencia has filed      taken place years later involving at least
                                                                        26    a notice of appeal but has yet to file     one member of LASD, possibly more
                                                                        27    his opening brief.                         according to the FBI.
                                                                        28

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                                                                         1                                               [Exhibit 6, US v. Collins, Case No. CR
                                                                         2    [Exhibit J, Ruling on Valencia MSJ;        18-00038-ODW-1, Grand Jury
                                                                         3    Inlow Decl., ¶ 7-8]                        Indictment, Dkt. 31]
                                                                         4    Response to No. 45: The alleged dispute is irrelevant and immaterial. The
                                                                         5    Valencia matter took place years after the alleged theft of 2014 making it wholly
                                                                         6    irrelevant to plaintiff’s Monell claims in this case.
                                                                         7
                                                                              46. Nersoyan testified that while he       Plaintiff admits this is undisputed.
                                                                         8
                                                                              was in federal custody at the
                                                                         9
                                                                              Metropolitan Detention Center (MDC)
                                                                        10
                                                                              on charges of being a felon in
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                              possession of a gun and conspiracy to
                                                                        12
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                                                                              sell heroin from June of 2017 to
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                              October of 2018, the FBI approached
                                                                        14
                                                                              him and told him that Kenneth Collins
                                                                        15
                                                                              stole his money on May 28, 2014.
                                                                        16

                                                                        17
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                        18
                                                                              16:2-17:18, 137:16-138:10, 139:18-
                                                                        19
                                                                              25, 143:2-21]
                                                                        20
                                                                              47. After he was released from prison,     Plaintiff admits this is undisputed.
                                                                        21
                                                                              Nersoyan through his attorney,
                                                                        22
                                                                              Michael Devereaux, on April 4, 2019
                                                                        23
                                                                              submitted an Amended Government
                                                                        24
                                                                              [Exhibit A, Plaintiff’s Deposition,
                                                                        25
                                                                              141:10-15, 161:13-18; Exhibit K,
                                                                        26
                                                                              Amended Government Tort Claim;
                                                                        27
                                                                              Inlow Decl., ¶ 9]
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                                                                                #:900



                                                                         1    48. The County denied the Amended         Plaintiff denies this is undisputed.
                                                                         2    Claim as untimely on April 8, 2019.       Plaintiff filed the amended claim timely
                                                                         3                                              after meeting with the FBI in 2018.
                                                                         4    [Exhibit L, Denial of Amended Claim; See Exhibits 9 & 10
                                                                         5    Inlow Decl., ¶ 10]
                                                                         6    Response to No. 48: The alleged dispute is irrelevant and immaterial. The fact is
                                                                         7    undisputed that the County denied the 2019 claim as untimely.
                                                                         8
                                                                              49. At all times relevant to this matter, Plaintiff denies this is undisputed.
                                                                         9
                                                                              the County had written policies           County has not provided any of their
                                                                        10
                                                                              regarding the retention and discipline    written policies and/or procedures.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                              of deputies.                              [Declaration of Michael Devereux, ¶¶ x-
                                                                        12
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                                                                                                                        z]
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                                                                        13
                                                                              [Declaration of Lt. Kopperud, ¶ 5-9]
                                                                        14
                                                                              Response to No. 49: The alleged dispute is irrelevant and immaterial. FRE 401-
                                                                        15
                                                                              403. The declaration of plaintiff’s counsel is insufficient to overcome the
                                                                        16
                                                                              declaration of Lt. Kopperud. Plaintiff’s counsel’s declaration lacks foundation
                                                                        17
                                                                              and personal knowledge. FRE 602. As such, the declaration of Lt. Kopperud is
                                                                        18
                                                                              undisputed. Inlow Decl., ¶ 5; Exhibit P, 8:25-9:11, 10:1-19, 11:4-15, 12:8-13:12,
                                                                        19
                                                                              27:5-15. 28:22-29:16.
                                                                        20

                                                                        21
                                                                              50. Per written policy, all known         Plaintiff denies this is undisputed.

                                                                        22
                                                                              civilian and personnel complaints         Defendants have provided no

                                                                        23
                                                                              about deputy personnel were               documentary proof of such policy.

                                                                        24
                                                                              investigated and, if warranted, the       Collins testified that he had no

                                                                        25
                                                                              deputy was subject to discipline          recollection of any programs for

                                                                        26
                                                                              ranging from re-training to termination deputies that were tempted by criminal

                                                                        27
                                                                              for both on-duty and off-duty             activity. [Declaration of Michael

                                                                        28
                                                                              incidents.                                Devereux, ¶¶ x-z, Exhibit 7, Second

                                                                             ______________________________________________________________________________
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                                                                         1                                              Deposition of Collins, 37:8-11]
                                                                         2    [Declaration of Lt. Kopperud, ¶ 9         During the deposition of Kimura,
                                                                         3                                              Kimura was non-responsive in questions
                                                                         4                                              pertaining to the procedures of an
                                                                         5                                              investigation. And when Lt. Kimura did
                                                                         6                                              try to answer, opposing counsel
                                                                         7                                              impeded the deposition.
                                                                         8                                              [Exhibit 3, Deposition of Kimura,
                                                                         9                                              37:10-38:11, 38:25-39:25, 44:1]
                                                                        10    Response to No. 50: The alleged dispute is irrelevant and immaterial. FRE 401-
                                                                        11    403. The declaration of plaintiff’s counsel is insufficient to overcome the
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                                                                        12    declaration of Lt. Kopperud. Plaintiff’s counsel’s declaration lacks foundation
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                                                                        13    and personal knowledge. FRE 602. As such, the declaration of Lt. Kopperud is
                                                                        14    undisputed. Inlow Decl., ¶ 5; Exhibit P, 25:6-24.
                                                                        15

                                                                        16
                                                                              51. Collins served as a combat medic      Plaintiff admits this is undisputed.

                                                                        17
                                                                              in the Army from 1985-1988 and has

                                                                        18
                                                                              an AA degree in criminal justice. He

                                                                        19
                                                                              worked as an EMT from 1989-2001

                                                                        20
                                                                              and then attended the Sheriff’s

                                                                        21
                                                                              Academy graduating in 2002.

                                                                        22

                                                                        23
                                                                              [Exhibit B, Deposition of Collins,

                                                                        24
                                                                              10:7-23, 11:5-18]

                                                                        25    52. Collins had various duty              Plaintiff admits this is undisputed.

                                                                        26    assignments until he was loaned from

                                                                        27    the Community Oriented Policing

                                                                        28    (COPS) Bureau to ELA for about two

                                                                             ______________________________________________________________________________
                                                                                        REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                                                                                #:902



                                                                         1    years starting in 2012. From 2014 to
                                                                         2    2016, he was assigned to patrol out of
                                                                         3    the Alta Dena station. From 2016 until
                                                                         4    his arrest in January of 2018, he was
                                                                         5    assigned to County Services.
                                                                         6

                                                                         7    [Exhibit B, Deposition of Collins,
                                                                         8    11:19-25, 12:8-24, 13:8-15, 17:18-25,
                                                                         9    32:7-22]
                                                                        10    53. In the fifteen years in which          Plaintiff denies this is undisputed.
                                                                        11    Collins was employed as a deputy           Collins had been the subject of six
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                                                                        12    Sheriff, he received eight (8) public      civilian complaints, which resulted in
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                                                                        13    commendations and five (5) Unit            the Watch Commander’s Service
                                                                        14    Commander commendations.                   Comment Report. Three of the
                                                                        15                                               complaints were for theft of money.
                                                                        16    [Declaration of Lt. Kopperud, ¶ 16]        [Exhibit 8, Declaration of Captain Kelly
                                                                        17                                               Porowski, ¶¶ 16-17]
                                                                        18    Response to No. 53: The alleged dispute is irrelevant and immaterial. FRE 401-
                                                                        19    403. The declaration of plaintiff’s counsel is insufficient to overcome the
                                                                        20    declaration of Lt. Kopperud. Plaintiff’s counsel’s declaration lacks foundation
                                                                        21    and personal knowledge. FRE 602. As such, the declaration of Lt. Kopperud is
                                                                        22    undisputed.
                                                                        23

                                                                        24
                                                                              54. He was also the subject of six         Plaintiff admits this is undisputed.

                                                                        25
                                                                              civilian complaints, which were all the

                                                                        26
                                                                              subject of a full inquiry resulting in a

                                                                        27
                                                                              Watch Commander’s Service

                                                                        28
                                                                              Comment Report. Aside from routine

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
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                                                                         1    complaints of rude or discourteous
                                                                         2    service, three of the complaints
                                                                         3    alleged theft of money.
                                                                         4

                                                                         5    [Declaration of Lt. Kopperud, ¶ 16-17]
                                                                         6    55. In 2007, two suspects alleged        Plaintiff admits this is undisputed.
                                                                         7    that Deputy Collins and his partner
                                                                         8    had stolen money from them during
                                                                         9    their arrest. The money had been
                                                                        10    seized and counted in the presence of
                                                                        11    a sergeant and neither suspect
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                                                                        12    complained at the time of their
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                                                                        13    booking. The conduct of Deputy
                                                                        14    Collins was determined to be
                                                                        15    reasonable regarding that complaint.
                                                                        16

                                                                        17    [Declaration of Lt. Kopperud, ¶ 17]
                                                                        18    56. In 2008, another suspect             Plaintiff admits this is undisputed.
                                                                        19    complained that Collins and a
                                                                        20    different partner had stolen money
                                                                        21    from a vehicle that had been sent to a
                                                                        22    tow yard. Again, the suspect did not
                                                                        23    complain at the time of booking. After
                                                                        24    an inquiry resulting in a Watch
                                                                        25    Commander’s Service Comment
                                                                        26    Report, no determination was reached.
                                                                        27

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                                                                                        REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 28 of 30 Page ID
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                                                                         1    [Declaration of Lt. Kopperud, ¶ 18]
                                                                         2    57. The third claim for theft was by     Plaintiff admits this is undisputed.
                                                                         3    Nersoyan in 2014.
                                                                         4

                                                                         5    [Declaration of Lt. Kopperud, ¶ 19-20]
                                                                         6

                                                                         7

                                                                         8
                                                                                 FACTS SUPPORTING PARTIAL SUMMARY ADJUDICATION OF
                                                                         9
                                                                                                                    ISSUES
                                                                        10

                                                                        11        ISSUE 1:       Plaintiff’s Cause of Action for Fraud Fails
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
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                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                             Facts and Supporting Evidence:            Evidence:
                                                                        14

                                                                        15   Defendant incorporates Undisputed
                                                                        16   Material Facts and Supporting
                                                                        17   Evidence Nos. 1 to 57 as though fully
                                                                        18   set forth herein.
                                                                        19   Response to Issue No. 1: Plaintiff has failed to offer any opposing response or
                                                                        20   evidence. As such, the request for summary judgment on this claim is unopposed
                                                                        21   and should be granted with prejudice.
                                                                        22

                                                                        23

                                                                        24         ISSUE 2:      Plaintiff’s Cause of Action for Conversion Fails
                                                                        25
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                        26   Facts and Supporting Evidence:            Evidence:
                                                                        27
                                                                             Defendant incorporates Undisputed
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 29 of 30 Page ID
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                                                                         1   Material Facts and Supporting
                                                                         2   Evidence Nos. 1 to 57 as though fully
                                                                         3   set forth herein.
                                                                         4   Response to Issue No. 2: Plaintiff has failed to offer any opposing response or
                                                                         5   evidence. As such, the request for summary judgment on this claim is unopposed
                                                                         6   and should be granted with prejudice.
                                                                         7

                                                                         8
                                                                                  ISSUE 3:       Plaintiff’s Cause of Action for IIED Fails
                                                                         9
                                                                        10
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                             Facts and Supporting Evidence:            Evidence:
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                                                                             Defendant incorporates Undisputed
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                                                                             Material Facts and Supporting
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   Evidence Nos. 1 to 57 as though fully

                                                                        15   set forth herein.

                                                                        16   Response to Issue No. 3: Plaintiff has failed to offer any opposing response or

                                                                        17   evidence. As such, the request for summary judgment on this claim is unopposed

                                                                        18   and should be granted with prejudice.

                                                                        19

                                                                        20         ISSUE 4:      Plaintiff’s Cause of Action for Trespass Fails
                                                                        21
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                        22   Facts and Supporting Evidence:            Evidence:
                                                                        23
                                                                             Defendant incorporates Undisputed
                                                                        24
                                                                             Material Facts and Supporting
                                                                        25
                                                                             Evidence Nos. 1 to 57 as though fully
                                                                        26
                                                                             set forth herein.
                                                                        27
                                                                             Response to Issue No. 4: Plaintiff has failed to offer any opposing response or
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                         REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 64-5 Filed 03/10/21 Page 30 of 30 Page ID
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                                                                         1   evidence. As such, the request for summary judgment on this claim is unopposed
                                                                         2   and should be granted with prejudice.
                                                                         3

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                                                                         5   DATED: March 10, 2021         COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         6
                                                                                                           By: Laura E. Inlow
                                                                         7                                 Laura E. Inlow, Esq.
                                                                                                           Attorneys for Defendant, COUNTY OF LOS
                                                                         8
                                                                                                           ANGELES
                                                                         9
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                                                                        12
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                                                                                        REPLY RE SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
